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                                                                  U.S. Department of Justice


                                                                       United States Attorney
                                                                     Northern District of Ohio

                                                                          United States Court House
                                                                801 West Superior Avenue, Suite 400
                                                                       Cleveland, Ohio 44113-1852
                                                                               Main: 216-622-3600
                                                                          Facsimile: 216-522-4982



                                                                           December 10, 2018


Demetra Ashley

Alexandria, VA 22202

              Re: Subpoena in In re: National Prescription Opiate Litigation, MDL No.
                  2804 (N.D. Ohio)

Dear Ms. Ashley:

        You have been requested by counsel for defendants in the above captioned case to
appear at a deposition and testify regarding official Department of Justice information.
The Drug Enforcement Administration (DEA) was notified of this request and has stated
that it has no objections to a limited authorization as set forth below for you to appear and
testify. Therefore, pursuant to 28 C.F.R. § 16.24, you are hereby authorized to appear and
to give non-privileged, factual testimony within your personal knowledge regarding the
following:

       1.     Your general employment history with the DEA;

       2.     Your general duties in your former position as the Acting Assistant
              Administrator for the Office of Diversion Control;

       3.     Your personal recollection of your communications with DEA registrants
              about what makes an order "su spicious" under 21 C.F.R. § 1301.74;

       4.     Your personal recollection of advice you provided third-parties regarding
              registrants ' obligation to monitor orders placed with third-party registrants;

       5.     Your personal recollection regarding your interactions with manufacturers
              and distributors of opioids during your tenure at the Office of Diversion
              Control;

       6.     Your personal recollection regarding "DEA's interpretation and
              enforcement of, and practices related to 21 U.S.C. § 823 and 21 C.F.R. §
                                                                                             GOVERNMENT
                                                                                               EXHIBIT

                                                                                                      B
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              1301.74" and "DEA's interpretation, enforcement, and practices regarding
              the obligation to monitor orders" to the extent covered by the foregoing
              authorized specific topics.

       With regard to these authorized areas of testimony, you are not authorized to
disclose any information that would disclose privileged information, including, but not
limited to, the following:

       A. Information regarding any specific DEA investigations or activities;

       B. Classified and classifiable information;

       C. Information that would reveal the internal deliberative process within the
          United States Department of Justice, including the DEA, the United States
          Attorney's Office, and/or any other federal departments or agencies;

       D. Information that would reveal a confidential source or informant;

       E. Information the disclosure of which would violate a statute, including laws
          governing grand jury proceedings;

       F. Information that could threaten the lives or safety of any individual, including
          home addresses of law enforcement personnel;

       G. Information that could interfere with ongoing investigations and/or
          prosecutions;

       H. Information that could reveal investigative or intelligence gathering and
          dissemination techniques whose effectiveness would be thereby impaired ;

       I. Privileged attorney-client information;

       J. Information that would reveal attorney work product or matters of prosecutorial
          discretion;

       K. Expert opinion testimony related to non-public facts or information acquired as
          part of your performance of your official duties ;

       L. Personal opinions regarding non-public facts or information acquired as part of
          your performance of your official duties ; and

       M. Any non-public recommendations you made or you were aware of concerning
          any proposed agency action.

       If you are asked to testify beyond the limits stated above, you should respectfully
decline to answer and explain that 28 C .F .R. § 16.22(a) precludes you from doing so.



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Further, you are not authorized to disclose official information on any other subject. If
you have any questions, please do not hesitate to contact DEA Assistant Deputy Chief
Counsel Sandra Stevens or Assistant U.S . Attorney James Bennett (216-622-3988).




                                   Executive Assistant United States Attorney
                                   Office of the United States Attorney
                                   Northern District of Ohio
                                   Acting Under Authority Conferred by 28 U.S.C. § 515




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